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 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12

13   UNITED STATES OF AMERICA,                         )   CASE NO. CR 20-265 YGR
                                                       )
14           Plaintiff,                                )   UNITED STATES’ NOTICE OF INTENT NOT TO
                                                       )   SEEK THE DEATH PENALTY AS TO STEVEN
15      v.                                             )   CARRILLO AND ROBERT ALVIN JUSTUS, JR.
                                                       )
16   STEVEN CARRILLO and ROBERT ALVIN                  )
     JUSTUS, JR.,                                      )
17                                                     )
             Defendants.                               )
18
19           The United States hereby notifies the Court and the parties that it has elected not to seek the
20 punishment of death against the following defendants for the capital crime charged in Count One of the

21 pending Indictment in CR 20-265 YGR:

22           STEVEN CARRILLO
23           ROBERT ALVIN JUSTUS, JR.,
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     GOV NOTICE RE: INTENTION NOT TO SEEK              1
     CR 20-265 YGR
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 1 DATED: January 31, 2022                         Respectfully submitted,

 2                                                 STEPHANIE M. HINDS
                                                   United States Attorney
 3

 4                                                 /s/Jonathan U. Lee
                                                   __________________________
 5
                                                   JONATHAN U. LEE
 6                                                 Assistant United States Attorney

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     GOV NOTICE RE: INTENTION NOT TO SEEK   2
     CR 20-265 YGR
